                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   3:03CR136-02

UNITED STATES OF AMERICA                           )
                Plaintiff,                         )
                                                   )
              v.                                   )
                                                   )      ORDER
CAROLYN S. LEWIS                                   )
                Defendant,                         )
and                                                )
                                                   )
ELON HOME FOR CHILDREN,                            )
               Garnishee.                          )

                        DISMISSAL OF WRIT OF GARNISHMENT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Garnishment as to Elon Home For Children filed in this case on

November 20, 2008, against the defendant Carolyn S. Lewis is DISMISSED.




                                               Signed: March 23, 2010




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